Case 9:23-cr-80101-AMC Document 248 Entered on FLSD Docket 12/29/2023 Page 1 of 12




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  WEST PALM BEACH DIVISION

       UNITED STATES OF AMERICA,                       Case No. 23-80101-CR
                                                       CANNON/REINHART
       vs.

       DONALD J. TRUMP,
       WALTINE NAUTA, and
       CARLOS DE OLIVEIRA,

                   Defendants.
       _____________________________________

       PRESIDENT DONALD J. TRUMP’S OPPOSITION TO MOTION FOR NOTICE AND
              DISCLOSURES REGARDING ADVICE-OF-COUNSEL DEFENSE

             President Donald J. Trump respectfully submits this opposition to the Motion for Notice

   and Disclosures Regarding Advice-of-Counsel Defense (the “Motion”) submitted by the Special

   Counsel’s Office. ECF No. 208.1

             The Special Counsel’s Office has repeatedly demanded deadlines in this case that are

   detached from reality and practice, and this Motion is no different. The 60 days requested in the

   Motion would give the Office more time to “investigate” an advice-of-counsel defense than the

   Office proposed to give President Trump to review approximately 1.3 million pages of discovery

   and file Rule 12(b) motions. See ECF No. 34-3. The Court rejected the Office’s earlier unjust

   proposal, and the same result is appropriate here. The Motion is not supported by any rule of

   criminal procedure, and several courts have rejected prosecutorial requests for advance notice of

   a trial defense because it is inconsistent with the Sixth Amendment, due process, and the burden

   of proof.




   1
       Defendants Waltine Nauta and Carlos De Oliveira join in this opposition filing.
Case 9:23-cr-80101-AMC Document 248 Entered on FLSD Docket 12/29/2023 Page 2 of 12




          Not a single case cited by the Special Counsel’s Office involved the amount of advance

   notice they are seeking, and there is deep irony in the prosecution’s invocation of “fairness” and

   “efficiency.” E.g., Mot. at 8. Prior to filing the Indictment, before presenting evidence to a grand

   jury in this District, the Office unlawfully violated President Trump’s attorney-client privilege and

   improperly forced attorneys to testify before a grand jury in the District of Columbia. We will

   further address that misconduct in pretrial motions. However, given the unconstitutional steps that

   the Office took to invade President Trump’s privilege before bringing this politically motivated

   case, it was irresponsible for the Office to suggest in the Motion that (1) they face the risk of a

   defense “ambush” regarding legal advice, Mot. at 9, and (2) President Trump should be required

   to make a decision regarding a privilege waiver before the Court addresses the Office’s pre-

   Indictment abuse of his privilege.

          The Motion also ignores the Supreme Court’s emphasis on the need for reciprocity in

   pretrial discovery, which is lacking here in light of the ongoing discovery deficiencies that will be

   the subject of extensive litigation early next year. If this case survives pretrial motions, the defense

   disclosures that will likely be required in connection with CIPA litigation—such as anticipated § 5

   notice and § 6 hearings where we would be required to disclose other defense positions to establish

   relevance and admissibility—amplify this imbalance in a way that highlights the unjust nature of

   the Office’s request. For all of these reasons, the Court should deny the Motion as premature and

   address any requests for notice of President Trump’s defenses after pretrial motions are resolved

   and we have had a reasonable opportunity to review all of the prosecution’s pretrial disclosures—

   including exhibits, a witness list, and disclosures pursuant to the Jencks Act and Giglio.




                                                    -2-
Case 9:23-cr-80101-AMC Document 248 Entered on FLSD Docket 12/29/2023 Page 3 of 12




                                         APPLICABLE LAW

          “[T]here is no consensus among federal courts regarding the existence and extent of any

   authority for a court to require pretrial disclosure by the defense of information regarding its

   advice-of-counsel defense.” United States v. Ray, 2021 WL 5493839, at *4 (S.D.N.Y. Nov. 22,

   2021). “Although the Eleventh Circuit has yet to address this issue,” “[n]othing in Rule 16 requires

   a defendant to disclose a defense theory prior to trial (other than those defenses listed in Rules

   12.1-3).” Order Denying Motion to Compel Disclosure of Advice of Counsel Defense, United

   States v. Ahmed, No. 19-cr-60200-FAM (S.D. Fla. Feb. 12, 2020), ECF No. 198.

          “Constitutional due process ‘forbids’ compelling a criminal defendant to disclose anything

   to the government without the imposition of so-called ‘reciprocal discovery rights.’” United States

   v. Wilkerson, 388 F. Supp. 3d 969, 973 (E.D. Tenn. 2019) (quoting Wardius v. Oregon, 412 U.S.

   470, 472 (1973)). “The only matters required to be specially pleaded by a defendant are notice of

   alibi, Fed. Rule Crim. Proc. 12.1, or of intent to rely on insanity as a defense, Fed. Rule Crim.

   Proc. 12.2.” Mathews v. United States, 485 U.S. 58, 65 (1988). “[T]he listing of notice

   requirements in specific instances would strongly suggest that any other notice requirements were

   intended to be excluded.” United States v. Mubayyid, 2007 WL 1826067, at *2 (D. Mass. June

   22, 2007); see also United States v. Crinel, 2016 WL 6441249, at *11 (E.D. La. Nov. 1, 2016)

   (“[T]he ‘advice-of-counsel’ defense is not one of the defenses, objections, or requests that must be

   raised before trial under Rule 12(b)(3) of the Federal Rules of Criminal Procedure.”).

          The Special Counsel’s Office urges the Court to exercise “inherent authority” to impose

   notice and disclosure obligations on the defense that are outside of the Federal Rules of Criminal

   Procedure. Mot. at 6. Inherent authority is not a basis for shifting the Office’s burden of proof to

   President Trump. See United States v. Alessa, 561 F. Supp. 3d 1042, 1049 (D. Nev. 2021) (“[T]he



                                                  -3-
Case 9:23-cr-80101-AMC Document 248 Entered on FLSD Docket 12/29/2023 Page 4 of 12




   decision to pursue criminal charges carries with it important consequences, including that the

   defendant has the right to remain silent while the government is required to prove its case beyond

   a reasonable doubt.”); United States v. Atias, 2017 WL 563978, at * 4 (E.D.N.Y. Feb. 10, 2017)

   (“[T]he government has not established that is has a ‘right’ to pretrial notice as to the defense under

   discussion.”); United States v. Meredith, 2014 WL 897373, at *1 (W.D. Ky. Mar. 6, 2014) (“The

   United States bears the burden of proving the defendant guilty of the crimes charged beyond a

   reasonable doubt. A defendant need not put on any evidence at all.”).

           Nor does inherent authority permit unreasonable restrictions on President Trump’s ability

   to prepare and present defenses. See Wilkerson, 388 F. Supp. 3d at 975 (“[I]t would be untenable—

   and, most likely, unconstitutional—to require Defendants to turn over potential evidence (most of

   which is currently privileged) to the Government or risk forfeiting a defense.”); see also Ray, 2021

   WL 5493839, at *6 (“The Court will not require the defense to produce privileged documents

   before the earlier of either (1) the defense’s unequivocal assertion of the advice-of-counsel defense

   . . . , or (2) the close of the government’s case-in-chief.”).

           Based on these principles, courts in this District and elsewhere have rejected prosecutors’

   demands for pretrial notice and discovery relating to an advice-of-counsel defense:

          Order on Motion to Compel Reciprocal Discovery Relating to Advice of Counsel Defense,
           United States v. Patel, No. 19-cr-80181-RAR (S.D. Fla. Oct. 11, 2022), ECF No. 290 at 2
           (“To the extent the requested evidence falls outside of Rules 16 and 26.2, the Court cannot
           require Mr. Patel to produce it, so the request is denied.”);

          Alessa, 561 F. Supp. 3d at 1049;

          Ray, 2021 WL 5493839, at *6;

          Order Denying Motion to Compel Disclosure of Advice of Counsel Defense, United States
           v. Ahmed, No. 19-cr-60200-FAM (S.D. Fla. Feb. 12, 2020), ECF No. 198;




                                                     -4-
Case 9:23-cr-80101-AMC Document 248 Entered on FLSD Docket 12/29/2023 Page 5 of 12




             Tr. 81, United States v. Young, No. 19-cr-60157 (S.D. Fla. Oct. 2, 2020), ECF No. 241
              (“Other than the fact that obviously it would expedite things . . . , I am very concerned that
              we are going to require the defense to explain or share their theory of defense preemptively
              just because we really want to hope that it doesn't delay things necessarily.”);

             Wilkerson, 388 F. Supp. 3d at 975;

             Report & Recommendations, United States v. Esformes, No. 16-cr-20549-Scola/Otazo-
              Reyes (S.D. Fla. May 24, 2017), ECF No. 366 (rejecting prosecution’s “novel” arguments),
              aff’d, ECF No. 465;

             Crinel, 2016 WL 6441249, at *11;

             Meredith, 2014 WL 897373, at *1;

             United States v. Lacour, 2008 WL 5191596, at *1 n.1 (M.D. Fla. Dec. 10, 2008) (“[T]the
              government cites no authority for the proposition that a Defendant must assert the advice
              of counsel defense in advance.”);

             United States v. Afremov, 2007 WL 2475972, at * 4 (D. Minn. Aug. 27, 2007) (“Nor does
              the prosecution have a right to notice from the defense that it intends to assert an advice of
              counsel defense at trial.”); and

             United States v. Espy, 1996 WL 560354, at *1 (E.D. La. Oct. 2, 1996).

              “It should go without saying that [civil] cases are inapposite. Because the Government has

   elected to prosecute this case criminally, it has put Defendants’ liberty interests at stake. Doing so

   implicates a whole host of constitutional concerns that are nonexistent in the civil context.”

   Wilkerson, 388 F. Supp. 3d at 973; see also Report and Recommendation, United States v.

   Esformes, No. 16-cr-20549, ECF No. 366 at 4 n.3, adopted at ECF No. 465 (“The government also

   cited a number of civil cases, which are not relevant to the issues in this criminal case.”).

                                                  DISCUSSION

     I.       Neither “Fairness” Nor “Efficiency” Requires 60 Days’ Notice Of A Trial Defense

              One “distinct aspect of the right to a fair trial” is “the right of the defendant not to have his

   trial strategy and protected confidences disclosed to the prosecution.” United States v. Noriega,

   752 F. Supp. 1032, 1034 (S.D. Fla. 1990). No principle of “fairness” to the prosecution or

                                                        -5-
Case 9:23-cr-80101-AMC Document 248 Entered on FLSD Docket 12/29/2023 Page 6 of 12




   “efficiency” cited by the Special Counsel’s Office would justify requiring President Trump to

   waive his attorney-client privilege 60 days prior to trial. See Wilkerson, 388 F. Supp. 3d at 975

   (“[I]t is certainly not a sufficient justification that doing so would be more convenient for the

   Government and the Court, as the Government seems to argue here. ‘[J]ealously guard[ed]’

   constitutional principles are not casually tossed aside for the sake of expediency, much less for the

   mere potential that there may be some future inconvenience.” (quoting Cooper v. Oklahoma, 517

   U.S. 348, 363 (1996)); see also Alessa, 561 F. Supp. 3d at 1049 (“[O]ther than a seemingly

   arbitrary, unspecified sentiment about when a proper defense must be formulated, the Court does

   not know why a criminal defendant must decide what defense (if any) to pursue in advance of trial

   or risk losing the option altogether.” (cleaned up)).

          A.      The Special Counsel’s Office Has Unlawfully Violated President Trump’s
                  Attorney-Client Privilege

          President Trump will demonstrate through further motions that the Special Counsel’s

   Office has already unlawfully invaded his attorney-client privilege and compelled lawyers to

   testify before a grand jury in the District of Columbia.2 See In re Witness-Attorney Before Grand

   Jury No. 83-1, 613 F. Supp. 394, 400 (S.D. Fla. 1984) (“Any momentary gain to society by

   requiring the Witness-Attorney to testify against his client(s) would indeed be far outdistanced by

   its ultimate loss.”). In the Motion, the Office curiously ignores this fact and fails to inform the

   Court that they have much more information regarding legal advice provided to President Trump

   than in a typical case. It is therefore disingenuous for the Office to raise the specter of an “ambush”




   2
    Cf. ECF No. 85 ¶¶ 53, 55, 57-63 (discussing allegations pertaining to “Trump Attorney 1” and
   “Trump Attorney 2”); see also, e.g., Josh Gerstein and Kyle Cheney, Court rejects Trump’s urgent
   bid to keep lawyer’s records from special counsel, POLITICO (Mar. 22, 2023),
   https://www.politico.com/news/2023/03/22/trump-court-rejects-special-counsel-00088403.
                                                    -6-
Case 9:23-cr-80101-AMC Document 248 Entered on FLSD Docket 12/29/2023 Page 7 of 12




   and argue that “[d]iscovery about these matters is uniquely within the possession of the defendant.”

   Mot. at 8, 9.

          B.       There Is More Than Adequate Time To Conduct Any Necessary
                   “Investigation”

          In light of the unconstitutional pre-Indictment access to significant quantities of President

   Trump’s legal advice, it is equally disingenuous for the Special Counsel’s Office to claim that 60

   days’ pretrial notice is necessary so that the Office can undertake “further investigation.” Mot. at

   9. When President Trump argued that additional time was necessary to develop his defenses and

   participate in CIPA litigation, the Office suggested that the available defenses were limited and

   straightforward. See 11/1/2023 Tr. at 54-55 (“Either he didn’t possess it, or he was authorized to

   possess it, or the information doesn’t contain national defense information, or he wasn’t acting

   willfully, or he returned it before he was being asked to return it. Those are the defenses . . . .”).

   Now seeking to improperly infiltrate the defense camp for a second time, the Office falsely claims

   that it needs significant pretrial notice of a defense it previously failed to mention.

          C.       Voluminous, Ongoing Productions Undercut The Motion

          The “unusually high volume of unclassified and classified discovery” in this complex

   case—including nearly 1.3 million pages of unclassified materials and 5,500 pages of purportedly

   classified documents, with the most recent production on December 6, 2023—requires that

   President Trump be afforded as much time as possible to develop potential trial defenses following

   pretrial litigation. ECF No. 215 at 3; see also id. at 4 (“The volume and timing of these materials

   has outpaced initial estimates and required supplementation, both in the normal course and also to

   correct inadvertent omissions in the Special Counsel’s productions.”). President Trump cannot

   reasonably be required to determine whether and to what extent a privilege waiver will be




                                                    -7-
Case 9:23-cr-80101-AMC Document 248 Entered on FLSD Docket 12/29/2023 Page 8 of 12




   necessary to his defense until the Special Counsel’s Office completes its productions and the

   defense has adequate time to review them.

          D.      Discovery Deficiencies Preclude Reciprocal Defense Obligations

          Although there is no requirement that a defendant provide notice of an advice-of-counsel

   defense, every existing “requirement that a defendant provide notice or evidence mandates the

   government’s reciprocity.” Wilkerson, 388 F. Supp. 3d at 973; see also Wardius v. Oregon, 412

   U.S. 470, 475 (1973) (“[I]n the absence of a strong showing of state interests to the contrary,

   discovery must be a two-way street.”). The Special Counsel’s Office is not in compliance with its

   discovery obligations. The Court correctly observed that “the parties are at odds on significant

   issues related to the scope of discoverable information in this case, and that such disagreements

   will require substantial judicial intervention.” ECF No. 215 at 7. Some of the disagreements to

   be litigated concern the scope of the prosecution’s obligations under Rule 16 and Brady, and others

   arise from disputes over the nature of Jencks Act and Giglio obligations for prosecution witnesses.

   See 11/1/2023 Tr. at 62. No deadline for defense disclosures should be set until those disputes are

   resolved and the Office complies with its discovery obligations.

          E.      Anticipated CIPA Litigation Exacerbates The Lack Of Reciprocity

          If the Indictment survives pretrial motions, President Trump anticipates that he may, at

   some point, be required to provide pretrial notice, pursuant to CIPA § 5, of classified information

   that he reasonably expects to disclose at a potential trial. We also expect that, in connection with

   hearings pursuant to CIPA § 6, President Trump would be required to articulate theories of

   relevance and admissibility that will result in further disclosures of defense strategy prior to trial.

   Through these and other procedures, CIPA “represents a significant departure from usual

   procedures . . . .” United States v. Collins, 720 F.2d 1195, 1200 (11th Cir. 1983). In short, “[t]he

   defendant is required to disclose much of his defense.” Id. No case cited by the Special Counsel’s
                                                    -8-
Case 9:23-cr-80101-AMC Document 248 Entered on FLSD Docket 12/29/2023 Page 9 of 12




   Office in the Motion involved this additional complexity, and the required disclosures under CIPA

   are an additional strong reason to reject the unlawful advance notice requested by the Office.

       II.       The Cases Cited By The Special Counsel’s Office Do Not Support The Motion

                 None of the cases cited by the Special Counsel’s Office support the requested 60 days’

   notice. Rather, most of the cases involved orders or motions seeking notice deadlines of between

   10 days and two weeks prior to trial:

                United States v. Dallmann, 433 F. Supp. 3d 804, 813 (E.D. Va. 2020) (“[N]otice of the
                 intent to assert the advice-of-counsel defense need not be provided until ten days prior to
                 trial, and related discovery need not commence until notice has been provided.”);

                United States v. Stein, Order Regarding Motion to Compel, No. 21-cr-20321 (S.D. Fla.
                 Mar. 21, 2023), ECF No. 257 (11-day notice deadline);

                United States v. Crowder, 325 F. Supp. 3d 131, 139 (D.D.C. 2018) (two-week notice
                 deadline);

                United States v. Shapiro, Order Regarding Motion to Compel, No. 19-cr-20178 (S.D. Fla.
                 July 8, 2019), ECF No. 108 (notice deadline two weeks prior to existing trial date);

                United States v. Ramamurthy, Omnibus Order on Government’s Motions to Compel, No.
                 18-cr-20710 (S.D. Fla. Nov. 27, 2019), ECF No. No. 276 at 4 (notice deadline “slightly
                 more than two weeks before the scheduled trial”); and

                United States v. Roussonicolos, Motion to Compel, No. 21-cr-60273 (S.D. Fla. June 29,
                 2022), ECF No. 142 (prosecution requested two weeks prior to existing trial date).3

                 Your Honor’s order in Carver illustrates the unreasonable scheduling demands of the

   Special Counsel’s Office. See Mot. at 7. The June 1, 2023 Order requiring advice-of-counsel

   disclosures in Carver was entered approximately 15 months after the first defendant in the case


   3
     Although the prosecution’s request in Roussonicolos for two weeks’ notice is another example
   of the unreasonableness of the 60 days sought in the Motion, the court subsequently adjourned the
   trial by several months and required more advance notice of any advice-of-counsel defense. See
   No. 21-cr-60273 (S.D. Fla. Oct. 5, 2022), ECF. No. 185. The Special Counsel’s Office also cites
   United States v. Bachynsky, which is inapposite because it involved a Rule 17(c) subpoena and the
   defendant “[did] not actively oppose production of these documents.” 2007 WL 1521499, at *3
   (S.D. Fla. May 22, 2007).
                                                        -9-
Case 9:23-cr-80101-AMC Document 248 Entered on FLSD Docket 12/29/2023 Page 10 of 12




   was arrested, which is far more time to review discovery than has been provided to President

   Trump at this point. See No. 22-cr-80022 (S.D. Fla. June 1, 2023), ECF No. 579. The Carver

   Order applied to five defendants, which increased the potential complexity of any discovery

   litigation of an advice-of-counsel defense. Here, the Office is only seeking pretrial notice from

   President Trump. In Carver, Your Honor directed disclosures weeks after the prosecution had

   been required to disclose its witness and exhibit lists, which supplemented similar government

   disclosures dating back to at least March 2022. See id., ECF Nos. 123-24, 511-12, 576-77. The

   Special Counsel’s Office has not committed to any similar disclosure deadlines. And despite all

   of these distinguishing features, the Carver Order required approximately five weeks’ notice rather

   than the 60 days sought by the Office.

          Finally, the citation to United States v. Pisoni was an odd choice, as the case demonstrates

   the dangers of efforts by the Special Counsel’s Office to invade President Trump’s privilege. See

   Mot. at 7. The Office directed the Court to a December 10, 2015 scheduling order, but failed to

   disclose that the court subsequently vacated the defendants’ trial convictions based on

   prosecutorial misconduct relating to improper abuse of the defendants’ attorney-client privileges

   following an investigation by DOJ’s Office of Professional Responsibility. See Order Granting

   Motion for New Trial, No. 15-cr-20339 (S.D. Fla. Nov. 18, 2022), ECF No. 767 at 17

   (“Shockingly, throughout the entirety of the pretrial proceedings, the Government lied to the Court

   about its possession of privileged materials even though the prosecution team discussed this issue

   leading up to the motion to dismiss hearings.”).




                                                 - 10 -
Case 9:23-cr-80101-AMC Document 248 Entered on FLSD Docket 12/29/2023 Page 11 of 12




                                          CONCLUSION

          For the foregoing reasons, President Trump respectfully submits that the Court should deny

   the Motion as premature and address any requests for notice of President Trump’s defenses after

   pretrial motions are resolved.

    Dated: December 29, 2023                        Respectfully submitted,

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                                                - 11 -
Case 9:23-cr-80101-AMC Document 248 Entered on FLSD Docket 12/29/2023 Page 12 of 12




                                    CERTIFICATE OF SERVICE

         I, Christopher M. Kise, certify that on December 29, 2023, I electronically filed the

   foregoing document with the Clerk of Court using CM/ECF.

                                                 /s/ Christopher M. Kise
                                                 Christopher M. Kise
